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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                            CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS

      PLAINTIFFS’ REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S
     MOTION FOR EXTENSION OF TIME TO COMPLETE DISCOVERY AND
               FOR AN EXTENSION OF SCHEDULING ORDER


        Comes now the Plaintiffs and for their reply to the Defendants Response to

Plaintiffs Motion for Extension of time to Complete Discovery and for an Extension of

Scheduling Order state:

        1.     That the Plaintiffs filed their motion for extension of the discovery

deadline based upon the resistance by the Defendants to agree to any discovery pending

resolution of both the Motion for Protective Order and of their Motion to Dismiss.

        2.     That the Defendants’ position that an extension of time is inappropriate

and nonsensical in light of the fact that the scheduling order requires completion within a

certain time frame.

        3.     In light of the motion filed with this court to reconsider its granting of the
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Protective Order and the possibility that the Court will reconsider and deny said motion, a

motion for extension of time to complete discovery is in order and consistent with Rule

26, et seq of the Federal Rules of Civil Procedure.

       WHEREFORE, the undersigned prays that the Motion to Extend the time to

Complete Discovery be granted and for all other proper and just relief.

                                                      Respectfully submitted,

                                                      /s/Teresa Bloodman
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                            CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 17th day of April 2012, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

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